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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Newport News Division



DAVID LONDO
on behalfofhimselfand others similarly situated, et al.,

        Plaintiff,

        V.                                                   Civil Action No: 4:20cv61

KING'S CREEK PLANTATION,LLC., et al..

        Defendants.




                     AMENDED SETTLEMENT CONFERENCE ORDER


        The settlement conference order, ECF No. 71, previously entered on November 17, 2020,

is amended as follows:


        1.      All parties and their lead counsel are required to appear at a settlement conference

by using the remote access program Zoomgov, at 9:30 a.m. on Tuesday, January 26, 2021, for

the purpose of conducting discussions, in good faith, towards a compromised resolution of this

case.



        7.      The parties must:

                a.     Submit a brief memorandum of five pages or less directly to the

                       chambers of the undersigned (do not file in the clerk's office) by

                       NOON on TUESDAY,JANUARY 19, 2021. Do not serve a copy of the

                       letter on the opposing party unless you wish to disclose your settlement

                       position. The memorandum can be emailed to:
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                     marv beth kopso@vaed.uscourts.gov and

                     William palmer@vaed.uscourts.gov


       The previous directives ofthe original settlement conference order, ECF No. 71, remain in

effect. The only amendments contained herein are with regard to the date of the settlement

conference and the corresponding due date for settlement memorandum briefs, as described above.

       The Clerk is DIRECTED to forward a copy of this order to all counsel of record.




                                                   Lawrence R. Leonard
                                                   United States Magistrate Judge

Norfolk, Virginia
November 23, 2020
